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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

  UNITED STATES OF AMERICA                  )
                                            )
               v.                           )      No. 2:01 CR 98
                                            )
  BOBBY DAVIS                               )

                                  OPINION AND ORDER

        Defendant Bobby Davis moved for a sentence reduction under 18 U.S.C.

  § 3582(c)(2), as a result of Amendment 750 to the United States Sentencing Guidelines.

  (DE # 1291.) The court denied that motion on May 31, 2012. (DE # 1314.) In that order,

  the court determined that defendant was responsible for 3.675 kilograms of crack and

  concluded:

        Under the current guidelines, the 3.675 kilograms of crack that defendant is
        responsible for results in a base offense level of 36, and a total offense level
        of 38 (including the two-level increase for the weapons violation). U.S.
        SENTENCING GUIDELINES MANUAL § 2D1.1(c)(2). A total offense level of 38
        combined with a criminal history of I results in a guideline range of 235-293
        months. Thus, defendant’s applicable guideline range has not changed. His
        guideline range under Amendment 750 remains, as it was under
        Amendment 706, 235-293 months.

        The court is authorized to reduce a sentence only when a defendant’s
        sentence is “based on a sentencing range that has subsequently been lowered
        by the Sentencing Commission” and the reduction is “consistent with
        applicable policy statements issued by the Sentencing Commission.” 18
        U.S.C. § 3582(c)(2). The relevant policy statement here provides: “A
        reduction in the defendant’s term of imprisonment is not consistent with this
        policy statement and therefore is not authorized under 18 U.S.C. 3582(c)(2)
        if . . . [a]n amendment listed in subsection (c) does not have the effect of
        lowering the defendant’s applicable guideline range.”U.S. SENTENCING
        GUIDELINES MANUAL § 1B1.10(a)(2)(B). As explained above, defendant’s
        guideline range is still 235-293 months. Because defendant’s guideline range
        has not been lowered, he does not qualify for a reduction. United States v.
        Taylor, 627 F.3d 674, 676 (7th Cir. 2010).
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  (Id. at 5.)

          Defendant has now filed another motion under Section 3582(c)(2) and

  Amendment 750. (DE # 1331.) Additionally, the attorney that represented defendant for

  his initial Section 3582(c)(2) motion based on Amendment 750 has moved to withdraw.

  (DE # 1333.)

          In his motion, defendant makes several arguments as to why he is eligible for a

  reduced sentence. (DE # 1333.) Defendant, however, has already filed a Section

  3582(c)(2) motion based on Amendment 750, and “may not file a second one premised

  on the same amendment to the guidelines . . . .” United States v. Taylor, No. 12–1468,

  2012 WL 4378565, at *1 (7th Cir. 2012); United States v. Redd, 630 F.3d 649, 650-51 (7th

  Cir. 2011). Therefore, defendant’s motion for a reduced sentence is DENIED

  (DE # 1331), and defendant’s counsel’s motion to withdraw is GRANTED (DE # 1333.)

                                            SO ORDERED.

          Date: November 26, 2012

                                             s/ James T. Moody_______________
                                            JUDGE JAMES T. MOODY
                                            UNITED STATES DISTRICT COURT
